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                                                            (tzj   THECOURT:    VL
                                                                          Article
                                                            (~3}   THEWITNESS:




                           Page4150
    1998.
        I don’tthinkth~y’revalid~orusesupporting




Page 4159 to Page 4162                                    35                     Heritage Reporting Corporation
        Case 1:03-cv-02622-TCW                    Document 50-6   Filed 11/19/2004     Page 2 of 9
                                                                            Page~165




 (8) lot of sense,
                andthatbyadjusting
                                 it plusor m~us
 (9) EOp~-rcenlwasenewayof d~alingwffhthat




(~2~wouldnl
         it?




Heritage Reporting Corporation                                                       Page 4163 to Page 4166
                                                          36
         Case Yankee
              1:03-cv-02622-TCW         Document
                     Atomic Electric vo U.S         50-6 98-154C,
                                            Not;.: 9~12~C,  Filed 11/19/2004
                                                                  9~474C August   Page 3 of 9




                                                      correct?




                                                 (’~) A. Okay.




Page415"7" to Page4170
                                                37                    Heritage Reporting Corporation
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 United States Government                                         Departmentof Energy

 memorandum
   ~o*~.Oecember20, 199[
  .e~u~To RW-432                                                        " "     ¯

   su~:~: kpprov21For Publicationof the ]g9! Annuel Capacity’Report                 ..

      re:Director,   Office or Ctv|l|en Radioactive Waste Han~gement,RWLIII -       .

 Through:
        DeputyDirector,
                      Officeof Civilian
                                      Radioactive
                                               gustoHanagement,
                                                             RW-Z


         The Standard
                    Contractfor the Disposalof SpentHuclearFuel’and/orHigh-
         LevelRadioactive
                        Waste(]0 CFR Partg6l)that the Department of Energyhas
         executedwlthownersor generatorsof clv|lienspentnuclearfeeland high-
         levelredioactive
                        provides for annualpublicationof the AnnuelCapacity
         Report
         The IggOACR stated~hatit ~ouldbe the last ACR to be issued~nd ~ouldbe
         replacedby the Accu~tancePriority Ranking{APR).However,baseden
         discussionswith Contractholdersand their representatives,
                                                                 the Department
         electedto continueto publishthe ACR. Thischa~gein planswas conveyed
         to Contractholdersin a ~ay 15, lgg],letterfromthe Department’s
         ContractingOFficer.


         The ACR Is required to projectbothan annualacceptance ranking~f Contract
         holdersand the annualreceiving capacity of ~he FederalWaStemanagement
         system(FWHS)for tenyearsfollowing  prujectedco,n~nencementof’fac|llty
         operations. The Igg!APR assignsthe highestacceptance priority, on an
         industry-wide basis,to the ownersof the oIHeetspentnuclearFuel(SHF).
         The ACR Bpplles a wasteacceptancerateto the APR,resulting in individual
         allocations to the Contractholdersof FWHScapacity.
         The 1991ACRassumesthat FWTiSoperatlonsco.oncein ]ggB and the system
         configuration
                     is thatauthorizedby the tluclear
                                                    WastePolicyA~endments Act
         of 1987,specifically
                            a MonitoredRetrievableStoragefacilitywitha
         MTU storage
                   limitprior%o rep~sitor~ operations.
         The 1991ACR differsfrom previousl~ published ACRe for two reasons.First,
         whilethe Infuser|onin the ACE has traditionally beenused for planning
        .purposesonly,%he allocations In the Iggl ACRwil] alsoserveas the basis
         for submissionof Oeliver~C~mitment Schedules (DCS)by the Contract
         holders.~heseDCSS~which~illprovideplanningInfo~atlon       for waste
         acceptanceactivities,may be su~itted to the Department as earlyas
         Januarx], Igg~.
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        Second, the ~g~OAC~ presented lo~er and upper bounding annualwuste
        accepteneo r~tes~nd cor~espandlng Contract holderallaeallons   oF capacity.
        Although no annual waste, acceptance rate has been baseltned, the ]991AC~
        uses a single acceptance rate thatis vorys|mit~r to the lower bounding
        rate in the 1990 ACg.ihilenot statedin the ACR, thisratewas selected
        becauseIt is tbeuretlcally  sufficient to ollminate, In theaggregate,  the
        ne~ for addltlonal at-reactor, out-of-pool storage-sterting  in 1998.
        As in p~viousyears,the 1991ACRincludesan updateOn the prugr~sof the
        cooperativeIntersctlonsbetweenthe Dopar~eot
                                                  and Contractholdersto
        ~ddrossissuesof =utoalconcernarislogfromImple;~ntatlonof the
        Contract."ll~eACRIs distributedto Contract
                                                 holders,nuclearindustry
        trade~.~-o~iationsand otherinterestedparties.
                                                    Responseto previousACRs
        has b~en!IeneT~lly
                         favorable,altheughsomeContractholdersh~veexpressed
        conce~ ~llppagesin the waste acceptanceschedulebe~on~ 19gB.
        Consls~ihpast ACRe,thls reportstates%hat wasteacceptancewill
        begin ~encement oF facility operations.
        Reco~ion~
        That you~ve~he attached1991ACRfor publication.



                                         RonaldA. Hilner
                                         Associate Directorfor
                                           Storage and Transportation
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                                                           Depa~ment of Ener~
United States GovernrnBnt

memorandum


        Director,
               Officeof Civilian
                               Radioactive
                                        WasteHanagement,
                                                      RW-I
        DeputyOirector,
                      Officeof Civilian
                                      Radioactive
                                               WasteManagement,
                                                             RW-2



       TheStandardContract
                         forDisposalof SpentNuclear Fueland/orHigh-Level
       Radioactive
                 Waste(lOCFR9619thattheDepartment  of Energyhasexecuted
       withownersor generators
                            of civilianspentnuclear fuelandhigh-level
       radioactive
                 wasterequires
                             annualpublicationof theAnnualCapacity
       Report


        TheACRis required  to project boththeannualreceiving capacityof the
        wastemanagement systemandan annualacceptance  rankingof Contract
        holdersfor10 yearsfollowing   projected
                                              con~nencementof faoility
                   ~he information
        o_gerations.                in theACRis forplanning purposesonly,and
        is scheduledto be replaced, as requiredby theContract, by a
        contractuallybinding AnnualAcceptance PriorityRankingReportoh
        April,]991.The First.two  ACRewerepublished  in JuneI987and June
        1988,respectively.  In AprilIggo,theDepartment  informed allContract
        holdersthatthe1989ACRHouldnetbe published     priorto thedmvelepmemt
        of revisedwasteacceptance  schedulesbasedon theSecretary’s

        Sincethewasteacceptance  schedulehasnotyetbeenapproved  andthisis
        thelastopportunity accordingto thetermsof theContract furan ACRto
        be issued,upperandlowerbounding  wasteacceptancerateswereusedto
        providetherequired information.Bothcasesassumeavailability of an
        HonitoredRetrievableStorage
        IggB.The lowerhounding casewasbasedon thesystemconfiguratlon
        authorizedby theNuclear WastePolicy~dnaedments
                                                     Actof 1987,which
        includesan MRSfacilitywiththe]0,000HTUstorage   ll~itpriorto
        repositoryoperations.Theupperbounding  caseis the samewaste
        zmeeptancesohedule~eedin thelasiA;~andwouldrequlre   earlyHRS
        sitingand~edlflcationsto thestorage capacitylimitsspeclfl)din the
        A~endmeotsAct.
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                     Office of Civilian Radioactive WasteManagement


                         Civilian Radioactive Waste
                               Management System
                          Requirements Document


                                                     Revision05
                                     (A00000000-00811-1708-00003)




                                                          January 1999


                                                U, So Dapzn’tment of Energy
                            Olflc~ of Cl~411anRadioactive Wa~t~Mant~g~ment




                                                       HQ0,t999oI12,00o1-0001




                                                     :’    ’   :!i~     EXHISiT     "l’
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  Title: Civilian Radioactive W~tt: Management System Requirements Document              Page: 15
  Dt: A00~3~000-I30811-1"/08-00003 RE’V05




                       Y~r of Op~ratltm       Commm’clnl             Government MarmgedNueJear
                                                                             Mater~l~
            I                  1                      120(t                   TnD3
            !                ,, 2                     1200                      TBD 3
                                                                                TieD4
                                                      270O                      T~O4
                                                                                TBD4
            II               TBD2

        B. The CISF shall   have a minimum storage    capacity   of 10.000 ~ of SNF.

        C. The CISF shall have a HLWstorage capacity of (TBD6).

        D. The CISF shall M capable of preparing SNF and HLWfor off-site    transpom

  3.6     INTERFACE     REQUIREM~ENTS

  Ttlis section idmatifies   the interface  requirements between CRWMS  system elements.
  Acceptance criteria for nuclear materials art: documcntod in the W~to Acceptance System
  Requirements Document (WA-SILD) (I3OE/’RW-035 IP).

  3.6.1     Waste Acceptance and Trma~portation      - Gevernmeat Agency Interface
            Reqt~remeats

  Waztc Acceptance and Transp~e, ztion shall interface with appropriate fed*ral, stare, tribal and
  local government agenei~ to meet legal, regulatory mad operational requirements for acceptance
  and transportation   of SNF and I-tLW, such ~ route selection,       approval, scheduling mad
  notification, emergencyplanning and response, and security,




                                                                            HQO,t9990112.0001.0026
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